lN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

IN THE l\/IATTER OF THE APPLICATION

OF THE UNlTED STATES OF AMERICA No. l7-SW-2079DPR
FOR AN ORDER AUTHORIZ.ING THE

TRACKlNG OF CELLULAR TEhEPl'lONE (UNDER SEAL)
(417) 205-3147, lNCLUD[NG CELL SlTE,

TRIANGULATION, AND GPS

RETURN

The tracking device was authorized on telephone number (417') 205-3147 on August 16,
2017. The tracking device Was utilized during the period between August 16, 2017 and August
3l, 2017, 2017.

I declare under the penalty of perjury that this return is correct and Was returned to the

designated judge

TMLLF ask Force Otficer

Drug Enforcement Adininistration

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